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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

    BLACK WARRIOR RIVER-           )
    KEEPER, INC. and GASP,         )
                                   )              Case No. ________________
              Plaintiffs,          )
                                   )
    v.                             )
                                   )
    BLUESTONE COKE, LLC            )
                                   )
              Defendant.           )
    ______________________________ )

                                COMPLAINT

      1.   Bluestone Coke has continually discharged unpermitted pollutants into

Five Mile Creek and its tributary, violating its National Pollutant Discharge

Elimination System (“NPDES”) Permit. The Clean Water Act prohibits the

discharge of pollutants by any person except in compliance with the terms of an

NPDES permit issued by the Environmental Protection Agency or an authorized

state pursuant to Section 402 of the Act. 33 U.S.C. § 1311(a); Id. § 1342.

      2.   Bluestone Coke is a coking facility and has a legacy of pollution and

environmental injustice. Currently, black and brown coal sediments discharged by

Bluestone suffocate both an Unnamed Tributary of Five Mile Creek and Five Mile

Creek itself. People can no longer use Five Mile Creek without fearing for their

health and their children’s health, and there is a noticeable dearth of wildlife in
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these waterways. This lawsuit seeks to remedy years of Bluestone’s indifference

and apathy for these streams and the communities and businesses that rely on them.

      3.    Bluestone is in violation of the Clean Water Act for violating conditions

outlined in NPDES Permit No. AL0003247. According to Bluestone’s own reports,

it has discharged pollutant levels that exceed what its permit allows 392 times.

Additionally, it has violated its permit by failing to operate and maintain the

treatment facility on site.

      4.    Also, Bluestone is in violation of the Clean Water Act for discharging

certain pollutants at its discharge point that are not allowed by its permit, including

Barium, Strontium, E.coli, semi-volatile organic compounds (“SVOCs”), and

volatile organic compounds (“VOCs”).

      5.    Further, Bluestone is in violation of the Clean Water Act for discharging

pollutants at locations that are not authorized by its permit. Specifically, Bluestone

is discharging pollutants during and after rain events. Stormwater flows from the

facility into an Unnamed Tributary of Five Mile Creek, transporting various

unpermitted pollutants to Five Mile Creek including but not limited to Nitrate-

Nitrite, Chloride, Barium, Manganese, Aluminum, Iron, Zinc, and Sodium.

      6.    Finally, Bluestone has discharged staggering amounts of coal, coke,

slag, and their associated sediment into the Unnamed Tributary of Five Mile Creek,

and this sediment reaches Five Mile Creek. These discharges constitute


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unpermitted fill into waters of the United States, a violation of Section 404 of the

Clean Water Act. Id. § 1344.

      7.   This action seeks declaratory relief, injunctive relief, civil penalties,

and costs of litigation (including reasonable attorney and expert witness fees).

                                    PARTIES

      8.   Black Warrior Riverkeeper, Inc., and GASP (“Plaintiffs”) bring this suit

against Bluestone under the citizen suit provision of the Clean Water Act, 33 U.S.C.

§ 1365, which allows citizens to commence an action against any person in

violation of any effluent standard or limitation.

      9.   Plaintiff Black Warrior Riverkeeper (“Riverkeeper”) is an Alabama

nonprofit membership corporation with over 6,000 members that is dedicated to

the protection and restoration of the Black Warrior River and its tributaries,

including Five Mile Creek. Riverkeeper actively supports effective implementation

and enforcement of environmental laws, including the Clean Water Act, on behalf

of and for the benefit of its members. Riverkeeper is a “citizen” within the meaning

of the Clean Water Act. 33 U.S.C. § 1365(g).

      10. Members of Riverkeeper use and value Five Mile Creek and the Black

Warrior River for recreation, including but not limited to paddling, boating, fishing,

swimming, wildlife observation, nature and landscape observation and

photography, and for aesthetic enjoyment. These members have been harmed by


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Bluestone’s actions. They are concerned about the significant concentrations of

pollutants that Bluestone is putting into Five Mile Creek, and whether those

pollutants make it unsafe to recreate in Five Mile Creek.

      11. These violations have lessened members’ recreational and aesthetic

enjoyment of Five Mile Creek. They would use and enjoy these waters more if the

violations were abated. Enforcement by this Court of the Clean Water Act as to

Plaintiffs’ claims, including injunctive relief and the imposition of fines, would

remedy the injuries suffered by Riverkeeper’s members. The interests Riverkeeper

seeks to protect are germane to its purposes and objectives, but neither the claims

asserted herein, nor any of the relief requested, require the participation of

individual members in this lawsuit. Accordingly, Riverkeeper has standing to bring

this action. See Ex. 1 (Decls. of Black Warrior Riverkeeper and Members).

      12. For example, Jonathan McNair has been a member of Black Warrior

Riverkeeper since 2021 and serves on the Advisory Council. Jonathan frequently

uses the Black Warrior River to paddleboard, boat, and take pictures and videos.

He has paddle boarded down Five Mile Creek and frequently uses other tributaries

of the Black Warrior River, including the Locust Fork downstream. Jonathan does

not take his family on Five Mile Creek because he fears how the pollution would

impact his children. Jonathan joined Riverkeeper on a patrol of the Unnamed




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Tributary to Five Mile Creek and was astonished with the amount of pollution,

describing it as a “wasteland.” See Ex. 1 at P000006-09.

      13. Plaintiff GASP is a 501(c)(3) nonprofit membership organization

whose mission is to enhance the wellbeing of Alabamians by reducing air pollution,

advancing environmental justice, and promoting climate solutions through

education, advocacy, and collaboration. GASP has over 1,700 members, some of

whom live, work, and recreate in the impacted area. GASP is a citizen within the

meaning of the Clean Water Act. 33 U.S.C. § 1365(g). The interests GASP seeks

to protect are germane to its purposes, but neither the claims asserted herein, nor

any of the relief requested, require the participation of individual members in this

lawsuit. Accordingly, GASP has standing to bring this action. See Ex. 2 (Decls. of

Executive Director of GASP and Charlie Powell).

      14. For example, Charlie Powell has been a member of GASP since 2012.

He lived in Fairmont, a neighborhood adjacent to Bluestone, for 43 years. He still

owns six properties in Fairmont. Several of his family members, including his wife,

who grew up in Fairmont have cancer. He is concerned that Bluestone has lowered

his property values and caused health problems in his family and community. Mr.

Powell also has concerns about how water can transport pollutants into the

community through surface runoff and flooding. He used to swim in Five Mile

Creek but will not do so now. He is concerned about the amount of pollution that


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is in the Creek. Mr. Powell refers to the Creek as “Tar Creek” because of its putrid

smell and black water. See Ex. 2 at P000019-23.

      15. Defendant Bluestone is a limited liability company registered in the

State of Alabama, which engages in the production of coke and coking byproducts.

Bluestone owns the facility located at 3500 35th Ave. N, Birmingham, AL 35207,

in Jefferson County, Alabama, where the violations are occurring. Bluestone

acquired the site from ERP Compliant Coke in 2019. Bluestone is a “person”

within the meaning of Section 502(5) of the Clean Water Act, 33 U.S.C. § 1362(5).

                  JURISDICTION, VENUE, AND NOTICE

      16. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331

(federal question) and has jurisdiction over the parties.

      17. Before bringing a suit under 33 U.S.C. § 1365(a), citizens must give

violators sixty days’ notice of their intent to sue.

      18. Riverkeeper and GASP served a notice of the violations and their intent

to sue on Bluestone by certified mail, in accordance with 33 U.S.C. §

1365(b)(1)(A) and 40 C.F.R. § 135.2, on July 14, 2023. A copy of the notice letter

is attached as Exhibit 3 and incorporated herein by reference. Copies of such notice

were also served on the Administrator of the U.S. Environmental Protection

Agency (“EPA”), the Regional Administrator of the EPA, and the Director of the

Alabama Department of Environmental Management (“ADEM”).


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      19. More than 60 days have passed since notice was given and the

violations identified in the notice letter are reasonably likely to continue in the

future.

      20. Neither the United States nor the State of Alabama has commenced or

is diligently prosecuting a civil or criminal action to redress the violations asserted

in this citizen enforcement action. 33 U.S.C. § 1365(b)(1)(B).

      21. Venue is proper in the Northern District of Alabama because the source

of the violations is located within the Northern District of Alabama. Id. §

1365(c)(1); and 28 U.S.C. § 1391(b) and (c).

                           LEGAL BACKGROUND

      22. Congress enacted the Clean Water Act “to restore and maintain the

chemical, physical, and biological integrity of the Nation’s waters.” 33 U.S.C. §

1251(a).

      23. The Clean Water Act prohibits discharges of “any pollutant” to waters

of the United States except in compliance with an NPDES permit. Id. § 1311(a).

      24. Notably, each violation of a permit—and each discharge that is not

authorized by a permit—is a separate violation of the Act. See id. § 1319(d)

(“penalty . . . per day for each violation”); Sierra Club, Haw. Chapter v. City &

Cnty. of Honolulu, 486 F.Supp.2d 1185, 1190-91 (D. Haw. 2007) (summarizing




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holdings finding a monthly average violation as separate violations for each day of

that month).

      25. Under the Clean Water Act, the phrase “discharge of a pollutant” means

“any addition of any pollutant to navigable waters from any point source.” 33

U.S.C. § 1362(12)(A).

      26. The term “pollutant” includes “solid waste, . . . sewage, garbage,

sewage sludge, . . . chemical wastes, biological materials, . . . rock, . . . and

industrial, municipal, and agricultural waste.” Id. § 1362(6).

      27. The term “point source” includes any “discernible, confined and

discrete conveyance” from which pollutants may be discharged, including pipes,

ditches, channels, and tunnels. Id. § 1362(14).

      28. The term “navigable waters” means “the waters of the United States,

including the territorial seas.” Id. § 1362(7). The Supreme Court has defined

“waters of the United States” as a relatively permanent body of water connected to

traditional navigable waters. Sackett v. EPA, 598 U.S. 651, 678 (2023).

      29. Absent an NPDES permit, discharges of pollutants from a point source

into waters of the United States are a violation of the Clean Water Act. 33 U.S.C.

§ 1311(a).

      30. Additionally, the Clean Water Act prohibits the discharge of any dredge

or fill material into waters of the United States without a permit. Id. § 1344.


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      31. The Secretary of the Army, responsible for issuing permits pursuant to

Section 404 of the Clean Water Act, defines fill material as any material that has

the effect of “[c]hanging the bottom elevation of any portion of a water of the

United States.” 33 C.F.R. § 323.2(e)(1).

      32. Section 505 of the Clean Water Act authorizes any “citizen” to

“commence a civil action on his own behalf . . . against any person . . . who is

alleged to be in violation of . . . an effluent standard or limitation under this

chapter.” 33 U.S.C. § 1365(a).

      33. The Clean Water Act defines an “effluent standard or limitation,” for

the purposes of the citizen suit provision, to include an unlawful act under Section

301(a) (i.e., unpermitted discharges) and “a permit or condition of a permit issued”

under Section 402. Id. § 1365(a); id. § 1365(f); id. § 1311(a); id. § 1342.

      34. Under this chapter, i.e., the citizen suit provision, effluent standard or

limitation includes “an unlawful act under subsection (a) of section 1311 of this

title,” which prohibits the discharge of dredge or fill material without a permit

issued under Section 404. See 33 U.S.C. § 1365(a); id. § 1365(f); id. § 1311(a). See

also Avoyelles Sportsmen’s League, Inc. v. Marsh, 715 F.2d 897 (5th Cir. 1983)

(citizen enforcement of unpermitted discharge under Section 404); Benham v.

Ozark Materials River Rock, LLC, 885 F.3d 1267 (10th Cir. 2018) (same).




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      35. In an action brought under Section 505(a) of the Clean Water Act, the

District Court has jurisdiction to order compliance with the Act and to assess civil

penalties under Section 309(d) of the Act. 33 U.S.C. § 1365(a); id. § 1319(d).

      36. Under Section 505(d) of the Clean Water Act, the Court “may award

costs of litigation (including reasonable attorney and expert witness fees) to any

prevailing or substantially prevailing party, whenever the court determines such

award is appropriate.” Id. § 1365(d).

                          FACTUAL BACKGROUND

                                 Bluestone’s Operations

      37. The history of this facility dates to the early 1900s, when it was

constructed to produce coke for Birmingham’s iron and steelmaking industry. Coke

is created by heating coal at high temperatures in the absence of oxygen, and it

provided one of the raw materials needed to create iron and steel.

      38. Two coking facilities were built a couple of miles apart from each other

and are adjacent to the majority-Black neighborhoods of Collegeville, Harriman

Park, and Fairmont. The pollution from these facilities disproportionately impacts

these communities, who were historically constrained to living in these areas due

to racist redlining practices.

      39. One of these coking facilities, located at 3500 35th Ave. N,

Birmingham, AL 35207, was acquired by Bluestone Resources, LLC, in 2019.


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      40. Bluestone is owned and operated by James “Jay” Justice III and James

“Jim” Justice II, governor of the State of West Virginia. Donald Wiggins is the Vice

President of Engineering for Bluestone Coke.

      41. On June 25, 2020, ADEM approved transfer of NPDES Permit No.

AL0003247 from ERP Compliant Coke (previous owner) to Bluestone. Subject to

certain limitations, that permit authorizes discharges from Bluestone’s facility.

Under this permit, Bluestone is currently authorized to discharge certain pollutants

through one outfall—DSN 001—into Five Mile Creek.

      42. In 2021, Bluestone suspended its coke production processes.

      43. However, much of the historical pollution on the site, including

untreated, polluted water, remains, and Bluestone is still discharging water under

the authority of its active NPDES permit.

      44. Five Mile Creek is a “relatively permanent” and navigable tributary of

the Locust Fork of the Black Warrior River.

      45. Five Mile Creek’s designated uses include swimming and protection of

fish and wildlife. Ala. Admin. Code r. 335-6-11-.02.

      46. According to EPA, for this portion of Five Mile Creek, each designated

use is categorized as impaired, likely caused by industrial discharge.

      47. Although NPDES Permit No. AL0003247 identifies Five Mile Creek

as the receiving water, discharges are occurring on an ongoing basis to the


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 Unnamed Tributary of Five Mile Creek near the confluence of the Unnamed

 Tributary and Five Mile Creek.

       48. The Unnamed Tributary is a relatively permanent body of water

 connected to traditional navigable waters. It flows throughout the year, and at

 places it is waist deep. It runs into Five Mile Creek, which connects to the Black

 Warrior River, which opens into the Gulf of Mexico via the Tombigbee River.

       49. NPDES Permit No. AL0003247 prohibits the “discharge of a pollutant

 from a source not specifically identified in the permit application for this permit

 and not specifically included in the description of an outfall in this permit.” NPDES

 Permit No. AL0003247, Part II.D.1.c, Page 19 of 33.

       50. NPDES Permit No. AL0003247 requires that Bluestone:

     [A]t all times properly operate and maintain all facilities and systems of treatment and
     control (and related appurtenances) which are installed or used by the permittee to achieve
     compliance with the conditions of the permit. Proper operation and maintenance includes
     effective performance, adequate funding, adequate operator staffing and training, and
     adequate laboratory and process controls, including appropriate quality assurance
     procedures. This provision requires the operation of backup or auxiliary facilities only
     when necessary to achieve compliance with the conditions of the permit.

NPDES Permit No. AL0003247, Part II.A.1, Page 18 of 33.

       51. Bluestone relies on two treatment systems to clean its wastewater: the

 Biological Treatment Facility and the Final Pond.

                             Biological Treatment Facility

       52. According to the permit, coke plant wastewater, process area

 stormwater, sanitary wastewater, and groundwater from Arichem, LLC are all

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supposed to be processed in Bluestone’s Biological Treatment Facility (“BTF”),

which was constructed in 1974. NPDES Permit No. AL0003247, Part I, Page 5 of

33. The “treated” waters from the BTF flow through DSN01B, an internal

discharge and monitoring point, into the Final Pond, where they are eventually

discharged from DSN001 into the Unnamed Tributary of Five Mile Creek.

      53. The BTF is currently not operating or is operating inadequately for its

intended purpose.

      54. Bluestone stated in a recent engineering report to ADEM that the BTF

is operating only on an “as needed schedule.” Notice of Violation Engineering

Report, Bluestone Coke, LLC at P000252 (July 14, 2023) (attached as Ex. 4).

      55. There is no evidence of any other treatment system in place at the plant.

      56. As Bluestone disclosed in its permit application, the wastewaters the

BTF is responsible for treating contain Aniline, Benzene, Cresol, Cyanide,

Naphthalene, and Phenols. In addition, sanitary wastewater can contain

pathogenic organisms requiring disinfection prior to discharge.

                        Discharge Monitoring Reports

      57. Under the terms of NPDES Permit No. AL0003247, Bluestone is

required to submit a monthly and quarterly Discharge Monitoring Report (“DMR”)

to ADEM listing the results of water quality monitoring at outfall DSN001.

NPDES Permit No. AL0003247, Part I.C, Page 13 of 33.


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      58. According to Bluestone’s DMRs, Bluestone has admitted it has violated

effluent limitations mandated by its permit. In the past five years, Bluestone has

reported 392 permit violations for pollutants including Ammonia, Total Kjedahl

Nitrogen, BOD, Benzo(a)pyrene, Phenols, and Total Suspended Solids.

                            Riverkeeper’s Sampling

      59. Riverkeeper’s own sampling has revealed that on at least eighteen

occasions Bluestone is discharging undisclosed pollutants from DSN001. These

pollutants include Barium, Strontium, and E.coli.

      60. Barium, Strontium, and E.coli were not disclosed in Bluestone’s permit

application and are not permitted pollutants according to its NPDES permit.

               RCRA Consent Order and Groundwater Pollution

      61. Bluestone is subject to a longstanding Resource Conservation and

Recovery Act (“RCRA”) Consent Order. Under certain Interim Measures for a

Former Chemical Plant on the site, which produced chemical byproducts from the

coking process, Bluestone is responsible for a pump-and-treat operation to keep

polluted groundwater from migrating off the property.

      62. One of the purposes of the BTF is to treat this polluted groundwater

before it is discharged to surface waters. See Ex. 3 at P000053.

      63. On August 31, 2020, Bluestone Coke submitted a report under the

RCRA Consent Order detailing certain interim measures taking place at the facility.


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This report included results of groundwater monitoring and effluent monitoring.

See Ex. B to Ex. 3 at P000114-121.

      64. Chemicals were identified in this groundwater above maximum

contaminant levels (MCLs) including Benzene, Toluene, and Chlorobenzene. Ex.

3 at P000114-118.

      65. According to Bluestone, this groundwater is pumped and eventually

discharged in compliance with NPDES Permit No. AL0003247. Ex. 3 at P000053.

      66. The report states that “effluent samples were collected from the effluent

tank and analyzed for VOCs by USEPA Method 8260B and SVOCs by Method

8270D.” Ex. 3 at P000098.

      67. According to the report, VOCs and SVOCs detected in 2019 and 2020

in Bluestone’s effluent include Acetone, Acetophenone, 2-Butanone, Benzyl

Alcohol, Bromodichloromethane, 4-chloro-3-Methylphenol, 4-Chloroaniline,

Carbazole, Carbon disulfide, Cis-1,2-Dichloroethene, Cis-1,3-Dichloropropene,

Cyclohexane, 1,2-Dibromo-3-chloropropane, 1,2-dibromoethane (EDB), 1,4-

Dioxane,    4,6     Dinitro   2   Methylphenol,    Dibenzofuran,     2-Hexanone,

Isopropylbenzene, 2- Methylnapthalene, 4-Methyl-2-Pentanone, m,p-Xylenes,

Methyl Acetate, Methyl Tert-Butyl Ether (MTBE), Methylcyclohexane, 2-

Nitroaniline, 3-Nitroaniline, 4-Nitroaniline, O-Xylene, Styrene, 1,1,2-Trichloro-




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1,2,2-trifluroethane, 1,2,3-Trichlorobenzene, 2,4,5 Trichlorophenol, Trans-1,2-

Dichloroethene, and Trans-1,3-Dichloropropene. Ex. 3 at P000119-121.

      68. None of the above-mentioned pollutants were disclosed in Bluestone’s

permit application nor are they authorized by NPDES Permit No. AL0003247.

      69. Discharge of these undisclosed pollutants is continuing because the

BTF is not operating or is operating inadequately, and thus is not treating these

pollutants.

                      Unpermitted Stormwater Discharges

      70. According to the permit and permit application, stormwater runoff is

only permitted to route through the Final Pond for treatment, where it is discharged

through DSN001. NPDES Permit No. AL0003247, Part I at Page 1 of 33.

      71. Bluestone has failed to route all of its stormwater through the Final

Pond, the treatment and control system identified in its permit and permit

application. Specifically, discharges from facility runoff are routing to the

Unnamed Tributary of Five Mile Creek. Bluestone calls this Unnamed Tributary a

“Historic Drainage Ditch” in its Land Use Control Plan required by the RCRA

Consent Decree. Ex. 3 at P000060 (showing SWMU#40 labeled as “Historic

Drainage Ditch”). Channels and other intended conveyances from the facility

constitute point sources. These stormwater discharges bypass the Biological




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Treatment Facility and Final Pond, and flow into the Unnamed Tributary of Five

Mile Creek and Five Mile Creek. See map below.




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      72. According to Riverkeeper’s instream sampling, several pollutants are

being discharged into the Unnamed Tributary including but not limited to Nitrate-

Nitrite, Chloride, Barium, Manganese, Aluminum, Iron, Zinc, and Sodium.

Additionally, soil samples from the Unnamed Tributary reveal contaminants found

in a coke processing facility, such as Aluminum, Barium, Iron, Zinc, and Copper,

among others, are accumulating in the sediment of the Unnamed Tributary.

      73. Staggering amounts of coal, coke, slag, and their fines coat the bottom

of the Unnamed Tributary of Five Mile Creek and can be found along and on its

banks from at least Erwin Dairy Road all the way into Five Mile Creek. Brown and

black fines regularly cover the rock, leaf, and woody debris substrate in the

Unnamed Tributary of Five Mile Creek after rain events.

      74. Riverkeeper’s patrols documented the Unnamed Tributary flowing

turbid black with coal fines, sending an obvious dark plume into Five Mile Creek.

      75. Rock substrate in the Unnamed Tributary is stained black at the

confluence of the Unnamed Tributary with Five Mile Creek, indicating a long-term

pattern of polluted stormwater being discharged into both waterways.

      76. Discharges of coal, coke, and slag have changed the bottom elevation

of the Unnamed Tributary of Five Mile Creek.




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                                     COUNT I

           Violation of NPDES Permit No. AL0003247 (33 U.S.C. § 1311)

                           Effluent Limitation Violations

        78.   The preceding paragraphs are incorporated herein by reference.

        79.   The Clean Water Act prohibits the “discharge of any pollutant by any

person” into waters of the United States except in compliance with the terms of an

NPDES permit. 33 U.S.C. § 1311.

        80.   Since 2018, Bluestone has reported 392 permit violations in its

Discharge Monitoring Reports.

        81.   Specifically, Bluestone has reported exceeding its Ammonia, Total

Kjeldahl Nitrogen, BOD, Benzo(a)pyrene, and Total Suspended Solids discharge

permit limits on numerous occasions. The below chart details each violation of

discharge limits.

              Bluestone Coke NPDES Permit (AL0003247) Violations
                  Discharge Monitoring Report (DMR) Violations
                                           Permit              # of
 Date         Parameter                              Discharge
                                           Limit               Violations
              BOD Concentration, daily               11.10
 5/31/23                                   8.11 mg/L           1
              maximum                                mg/L
 5/31/23      Toxicity, Pimephales Chronic Pass/Fail Fail      1
              Ammonia, Quantity, daily
 2/28/23                                   9.47 PPD  9.65 PPD 1
              maximum
              Ammonia, Concentration,
 1/31/23                                   6.53 mg/L 6.83 mg/L 31
              monthly average
              Ammonia, Concentration,                10.59
 1/31/23                                   9.47 mg/L           -
              daily maximum                          mg/L

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           CBOD, Concentration, daily
11/30/22                                    8.11 mg/L   10.0 mg/L 1
           maximum
           Nitrogen, Ammonia, daily                     10.72
3/31/22                                     9.47 PPD              1
           maximum                                      PPD
11/30/21   BOD, daily maximum               8.11 mg/L   8.85 mg/L 1
           Total Suspended Solids, daily
10/31/21                                    1215 PPD    1299 PPD 1
           maximum
           BOD Loading, daily                           624.8
10/31/21                                    381 PPD                31
           maximum                                      PPD
           BOD Concentration, monthly
10/31/21                                    5.41 mg/L   6.03 mg/L 31
           average
           BOD Concentration, daily                     39.90
10/31/21                                    8.11 mg/L              -
           maximum                                      mg/L
09/30/21   Phenols, monthly average         0.08 PPD    0.13 PPD   30
09/30/21   Phenols, daily maximum           0.12 PPD    0.40 PPD   -
           Total Suspended Solids, daily
08/31/21                                    1215 PPD    1390 PPD 1
           maximum
           Benzo(a)pyrene, monthly          0.0408
08/31/21                                                0.31 mg/L 31
           average                          mg/L
           Benzo(a)pyrene, daily            0.0816
08/31/21                                                0.31 mg/L -
           maximum                          mg/L
           Total Kjeldahl Nitrogen, daily
07/30/21                                    3.74 mg/L   3.81 mg/L 1
           maximum
           BOD Loading, daily                           784.8
07/30/21                                    381 PPD                30
           maximum                                      PPD
           BOD Concentration, monthly
07/30/21                                    5.41 mg/L   7.54 mg/L 30
           average
           BOD Concentration, daily                     41.40
07/30/21                                    8.11 mg/L              -
           maximum                                      mg/L
07/30/21   Phenols, daily maximum           0.12 PPD    0.15 PPD   1
           Total Kjeldahl Nitrogen, daily
06/30/21                                    3.74 mg/L   5.38 mg/L 1
           maximum
           BOD Concentration, daily
06/30/21                                    8.11 mg/L   9.14 mg/L 1
           maximum
06/30/21   Phenols, monthly average         0.08 PPD    0.16 PPD   30
06/30/21   Phenols, daily maximum           0.12 PPD    0.50 PPD   -
           Ammonia concentration, daily
05/31/21                                    0.95 mg/L   3.19 mg/L 1
           maximum


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          Ammonia loading, daily                            21.73
05/31/21                                      9.47 PPD                   1
          maximum                                           PPD
05/31/21 Phenols, monthly average             0.08 PPD      0.11 PPD     31
05/31/21 Phenols, daily maximum               0.12 PPD      0.26 PPD     1
          Nitrogen, Ammonia, daily
04/30/21                                      3.2 mg/l      3.67 mg/l    1
          maximum
          Nitrogen, Ammonia, daily                          96.44
04/30/21                                      9.47 PPD                   -
          maximum                                           PPD
          Nitrogen, Ammonia, monthly                        41.28
04/30/21                                      6.53 PPD                   30
          average                                           PPD
04/30/21 Phenols, daily maximum               0.12 PPD      0.18 PPD     1
03/31/21 Phenols, daily maximum               0.12 PPD      0.15 PPD     1
02/28/21 Phenols, daily maximum               0.12 PPD      0.23 PPD     1
12/31/20 Phenols, daily maximum               0.12 PPD      0.14 PPD     1
          Nitrogen, Ammonia, daily                          11.66
11/30/20                                      9.47 PPD                   1
          maximum                                           PPD
          Benzo (A) Pyrene, monthly
10/31/20                                      0.048 ug/l    0.575 ug/l 31
          average
          Benzo (A) Pyrene, daily
10/31/20                                      0.0816 ug/l 0.890 ug/l -
          maximum
          BOD, Carbenaceous 05 Day,
11/30/19                                      8.11 mg/l     10.3 mg/l    1
          20C, daily maximum
          Total Suspended Solids, daily
09/30/19                                      1215 PPD      1250 PPD 1
          maximum
01/31/19 Phenols, daily maximum               0.12 PPD      0.34 PPD     -
01/31/19 Phenols, monthly average             0.08 PPD      0.09 PPD     31
08/31/18 Phenols, daily maximum               0.12 PPD      0.13 PPD     1
01/31/18 Phenols, daily maximum               0.12 PPD      0.18 PPD     1
Total Violations                                                         392


      82.   The activity described above, and in Plaintiffs’ notice letter, constitutes

noncompliance with NPDES Permit No. AL0003247 and the Clean Water Act.

      83.   Bluestone is in violation of the Clean Water Act, on an ongoing and

continuous basis, by exceeding permit limitations. These violations are likely to


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continue in the future because Bluestone is inadequately treating water pollution at

the facility. The ongoing violations will continue unless this Court orders and enjoins

Bluestone to cease any and all illegal discharges. These violations have caused and

will continue to cause Plaintiffs irreparable injury.

                                      COUNT II

         Violation of NPDES Permit No. AL0003247 (33 U.S.C. § 1311)

                        Failure to Operate and Maintain BTF

      84.    The preceding paragraphs are incorporated herein by reference.

      85.    The Clean Water Act prohibits the “discharge of any pollutant by any

person” into waters of the United States except in compliance with the terms of an

NPDES permit. 33 U.S.C. § 1311.

      86.    Bluestone’s NPDES permit requires that it “operate and maintain all

facilities and systems of treatment and control (and related appurtenances) which are

installed or used by the permittee to achieve compliance with the conditions of the

permit.” NPDES Permit No. AL0003247, Part II.A.1, Page 18 of 33.

      87.    Bluestone is not operating or is not adequately operating the Biological

Treatment Facility (“BTF”), one of the two treatment systems identified in its

NPDES permit and application.




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      88.    The BTF is responsible for treating wastewater from the coke plant, by-

products plant, steam traps, process area stormwater, sanitary wastewater, and

contaminated groundwater.

      89.    The BTF is responsible for treating polluted groundwater in compliance

with a RCRA Consent Order.

      90.    The activity described above, and in Plaintiffs’ notice letter, constitutes

noncompliance with NPDES Permit No. AL0003247 and the Clean Water Act.

      91.    Bluestone is in violation of the Clean Water Act, on an ongoing and

continuous basis, by failing to operate and maintain the BTF. These violations started

from at least from 2022 and will continue unless this Court orders and enjoins

Bluestone to cease its illegal activity. These violations have caused and will continue

to cause Plaintiffs irreparable injury.

                                      COUNT III

            Unauthorized Discharges to Waters of the United States
             in Violation of the Clean Water Act (33 U.S.C. § 1311)

                             Unpermitted Discharge of
                            Barium, Strontium, and E.coli

      92.    The preceding paragraphs are incorporated herein by reference.

      93.    The Clean Water Act prohibits the “discharge of any pollutant by any

person” into waters of the United States except in compliance with the terms of an

NPDES permit. 33 U.S.C. § 1311.


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      94.    For discharges to be approved, they must be adequately disclosed. In

re: Ketchikan Pulp Co., 7 E.A.D. 605 (EPA 1998).

      95.    NPDES Permit No. AL0003247 prohibits the “discharge of a pollutant

from a source not specifically identified in the permit application for this permit and

not specifically included in the description of an outfall in this permit.” NPDES

Permit No. AL0003247, Part II.D.1.c, Page 19 of 33.

      96.    On at least eighteen occasions, Bluestone has discharged Barium,

Strontium, and E.coli from DSN001 into the Unnamed Tributary of Five Mile Creek

which flows into Five Mile Creek. The chart below details each instance of

unpermitted discharge.

           Bluestone Coke NPDES Permit (AL0003247) Violations
                     Unpermitted Discharge of Pollutants
      Date   Parameter       Limit         Discharge     # of Violations
      6/8/23 E. coli     No Discharge 5,440 col./100mL                 1
      6/8/23 Barium      No Discharge 0.060 mg/L                       1
      6/8/23 Strontium No Discharge 0.118 mg/L                         1
     5/17/23 Barium      No Discharge 0.061 mg/L                       1
      3/1/23 E. coli     No Discharge 7,000 col./100mL                 1
      3/1/23 Strontium No Discharge 0.23 mg/L                          1
     1/17/23 Barium      No Discharge 0.13 mg/L                        1
     1/10/23 Barium      No Discharge 0.12 mg/L                        1
     12/8/22 Barium      No Discharge 0.118 mg/L                       1
     12/8/22 Strontium No Discharge 0.231 mg/L                         1
     11/3/22 Barium      No Discharge 0.116 mg/L                       1
    10/27/22 BOD5        No Discharge 10 mg/L                          1
    10/27/22 E. coli     No Discharge 1,200 col./100mL                 1
    10/27/22 Barium      No Discharge 0.101 mg/L                       1
    10/27/22 Strontium No Discharge 20 mg/L                            1
    10/19/22 E. coli     No Discharge 5,120 col./100mL                 1

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    10/19/22 Barium          No Discharge 0.073 mg/L                               1
    10/19/22 Strontium       No Discharge 0.177 mg/L                               1


      97.    Bluestone did not disclose that it discharges Barium, Strontium, or

E.coli in its permit application, and it is not permitted to discharge such pollutants

in NPDES Permit No. AL0003247.

      98.    The activity described above, and in Plaintiffs’ notice letter, constitutes

an unauthorized discharge of pollutants into waters of the United States. This activity

also constitutes noncompliance with NPDES Permit No. AL0003247.

      99.    Bluestone is in violation of the Clean Water Act, on an ongoing and

continuous basis, by illegally discharging undisclosed pollutants from a point source,

DSN001, into the Unnamed Tributary of Five Mile Creek which flows into Five Mile

Creek without a permit from at least 2022 to the present.

      100. The ongoing violations will continue unless this Court orders and

enjoins Bluestone to cease any and all illegal and unpermitted discharges. These

violations have caused and will continue to cause Plaintiffs irreparable injury.

                                     COUNT IV

            Unauthorized Discharges to Waters of the United States
             in Violation of the Clean Water Act (33 U.S.C. § 1311)

                            Unauthorized Discharge of
                        Pollutants Pumped from the Ground

      101. The preceding paragraphs are incorporated herein by reference.

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      102. The Clean Water Act prohibits the “discharge of any pollutant by any

person” into waters of the United States except in compliance with the terms of an

NPDES permit. 33 U.S.C. § 1311.

      103. For discharges to be approved, they must be adequately disclosed. In

re: Ketchikan Pulp Co., 7 E.A.D. (EPA 1998).

      104. NPDES Permit No. AL0003247 prohibits the “discharge of a pollutant

from a source not specifically identified in the permit application for this permit and

not specifically included in the description of an outfall in this permit.” NPDES

Permit No. AL0003247, Part II.D.1.c, Page 19 of 33.

      105. On August 31, 2020, Bluestone Coke submitted a report under the

RCRA Consent Order which included monitoring results. Ex. 3 at P000119-121.

      106. The report states that in 2019 and 2020, “effluent samples were

collected from the effluent tank and analyzed for VOCs by USEPA Method 8260B

and SVOCs by Method 8270D.” Ex. 3 at P000098. The effluent tank referenced is

at the permitted discharge point, i.e., DSN001.

      107. According to the report, pollutants detected in this effluent include

Acetone, Acetophenone, 2-Butanone, Benzyl Alcohol, Bromodichloromethane, 4-

chloro-3-Methylphenol, 4-Chloroaniline, Carbazole, Carbon disulfide, Cis-1,2-

Dichloroethene,     Cis-1,3-Dichloropropene,       Cyclohexane,       1,2-Dibromo-3-

chloropropane,    1,2-dibromoethane      (EDB),     1,4-Dioxane,    4,6    Dinitro   2


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Methylphenol, Dibenzofuran, 2-Hexanone, Isopropylbenzene, 2- Methylnapthalene,

4-Methyl-2-Pentanone, m,p-Xylenes, Methyl Acetate, Methyl Tert-Butyl Ether

(MTBE), Methylcyclohexane, 2-Nitroaniline, 3-Nitroaniline, 4-Nitroaniline, O-

Xylene, Styrene, 1,1,2-Trichloro-1,2,2-trifluroethane, 1,2,3-Trichlorobenzene, 2,4,5

Trichlorophenol, Trans-1,2-Dichloroethene, and Trans-1,3-Dichloropropene. Ex. 3

at P000119-121.

      108. Bluestone did not disclose any of the above-mentioned pollutants in its

permit application.

      109. Because the treatment system on site is not operating or is not operating

adequately, and Bluestone continues to discharge this groundwater through

DSN001, these violations are ongoing and likely to continue in the future.

      110. The activity described above, and in Plaintiffs’ notice letter, constitutes

an unauthorized discharge of pollutants into waters of the United States. This activity

also constitutes noncompliance with NPDES Permit No. AL0003247.

      111. Bluestone is in violation of the Clean Water Act, on an ongoing and

continuous basis, by illegally discharging undisclosed pollutants from a point source,

DSN001, into the Unnamed Tributary of Five Mile Creek which flows into Five Mile

Creek without a permit from at least 2019 to the present and continuing in the future.




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      112. The ongoing violations will continue unless this Court orders and

enjoins Bluestone to cease any and all illegal and unpermitted discharges. These

violations have caused and will continue to cause Plaintiffs irreparable injury.

                                     COUNT V

            Unauthorized Discharges to Waters of the United States
             in Violation of the Clean Water Act (33 U.S.C. § 1311)

                        Unpermitted Stormwater Discharges

      113. The preceding paragraphs are incorporated herein by reference.

      114. The Clean Water Act prohibits the “discharge of any pollutant by any

person” into waters of the United States except in compliance with the terms of an

NPDES permit. 33 U.S.C. § 1311.

      115. NPDES Permit No. AL0003247 prohibits the “discharge of a pollutant

from a source not specifically identified in the permit application for this permit and

not specifically included in the description of an outfall in this permit.” NPDES

Permit No. AL0003247, Part II.D.1.c, Page 19 of 33.

      116. Bluestone does not have an NPDES permit for the stormwater which

routes under Erwin Dairy Road, discharges into the Unnamed Tributary, and

eventually discharges into Five Mile Creek. See map above at 17. According to its

permit, all stormwater from the facility must flow through the Final Pond and

through DSN001. NPDES Permit No. AL0003247, Part I at Page 1 of 33.



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      117. The activity described above constitutes a discharge of pollutants into

waters of the United States without a permit. This activity also constitutes

noncompliance with NPDES Permit No. AL0003247.

      118. This “discharge” contains pollutants within the meaning of the Clean

Water Act. These pollutants include Nitrate-Nitrite, Chloride, Barium, Manganese,

Aluminum, Iron, Zinc, and Sodium. Pollutants were discharged on the dates

identified in the chart below.

              Bluestone Coke UT to FMC Pollutant Concentrations
   Date                Location             Parameter       Concentration
             UT to Five Mile Creek @    Total Dissolved
    6/8/23   Erwin Dairy Road           Solids (TDS)           358 mg/L
             UT to Five Mile Creek @
    6/8/23   Erwin Dairy Road           Conductivity        598 µmhos/cm
             UT to Five Mile Creek @
    6/8/23   Erwin Dairy Road           Sulfate, Total         101 mg/L
             UT to Five Mile Creek @
    6/8/23   Erwin Dairy Road           Nitrate-Nitrite       0.17 mg/L
             UT to Five Mile Creek @    Kjeldahl Nitrogen,
    6/8/23   Erwin Dairy Road           Total                 0.22 mg/L
             UT to Five Mile Creek @
    6/8/23   Erwin Dairy Road           BOD-5                   4 mg/L
             UT to Five Mile Creek @
    6/8/23   Erwin Dairy Road           Chloride              4.20 mg/L
             UT to Five Mile Creek @    Total Organic
    6/8/23   Erwin Dairy Road           Carbon                 2.5 mg/L
             UT to Five Mile Creek @
    6/8/23   Erwin Dairy Road           Aluminum              0.026 mg/L
             UT to Five Mile Creek @
    6/8/23   Erwin Dairy Road           Barium                0.058 mg/L
             UT to Five Mile Creek @
    6/8/23   Erwin Dairy Road           Manganese             0.020 mg/L


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             UT to Five Mile Creek @
    6/8/23   Erwin Dairy Road               Iron                   0.040 mg/L
             UT to Five Mile Creek @
    6/8/23   Erwin Dairy Road               Zinc                    5.9 mg/L
             UT to Five Mile Creek @
    6/8/23   Erwin Dairy Road               Magnesium               24 mg/L
             UT to Five Mile Creek @
    6/8/23   Erwin Dairy Road               Strontium              0.272 mg/L
             UT to Five Mile Creek @
    6/8/23   Erwin Dairy Road               Sodium                  22 mg/L
                                            Total Dissolved
  5/17/23    UT to Five Mile Creek          Solids (TDS)           422 mg/L
  5/17/23    UT to Five Mile Creek          Conductivity         637 µmhos/cm
  5/17/23    UT to Five Mile Creek          Sulfate, Total         112 mg/L
  5/17/23    UT to Five Mile Creek          Nitrate-Nitrite        0.39 mg/L
                                            Kjeldahl Nitrogen,
  5/17/23    UT to Five Mile Creek          Total                  0.92 mg/L
  5/17/23    UT to Five Mile Creek          Nitrate                0.21 mg/L
  5/17/23    UT to Five Mile Creek          BOD-5                   34 mg/L
  5/17/23    UT to Five Mile Creek          Chloride               4.31 mg/L
  5/17/23    UT to Five Mile Creek          Barium                 0.060 mg/L
  5/17/23    UT to Five Mile Creek          Manganese              0.071 mg/L
  5/17/23    UT to Five Mile Creek          Iron                   0.101 mg/L
  5/17/23    UT to Five Mile Creek          Zinc                   0.019 mg/L
  5/17/23    UT to Five Mile Creek          Sodium                  32 mg/L


      119. The ditches and channels which route stormwater at Bluestone’s facility

to the Unnamed Tributary of Five Mile Creek are discernable conveyances that

constitute point sources.

      120. These pollutants are discharged into waters of the United States, i.e.,

the Unnamed Tributary of Five Mile Creek. This waterbody constitutes a water of




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the United States. Alternatively, the ditch/Unnamed Tributary are both point sources

which discharge into Five Mile Creek, a water of the United States.

      121. Bluestone is violating Section 301(a) of the Clean Water Act, on an

ongoing and continuous basis, by illegally discharging pollutants from point sources

into the Unnamed Tributary of Five Mile Creek and Five Mile Creek without a

permit from at least the past five years to the present. The ongoing violations will

continue into the future unless this Court orders and enjoins Bluestone to cease any

and all illegal and unpermitted discharges. These violations have caused and will

continue to cause Plaintiffs irreparable injury.

                                     COUNT VI

            Unauthorized Fill Activity to Waters of the United States
             in Violation of the Clean Water Act (33 U.S.C. § 1344)

                              Unpermitted Discharge of
                             Fill of Coal, Coke, and Slag

      122. The preceding paragraphs are incorporated herein by reference.

      123. Citizens are authorized to sue under 33 U.S.C. § 1365 for any violation

of an effluent standard or limitation. Under this chapter, effluent standard or

limitation includes “an unlawful act under subsection (a) of section 1311 of this

title,” which prohibits the discharge of dredge or fill material without a permit issued

under section 1344. See 33 U.S.C. § 1365(a); id. § 1365(f); id. § 1311(a).




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      124. Fill material is any material that has the effect of “[c]hanging the bottom

elevation of any portion of a water of the United States.” 33 C.F.R. § 323.2(e)(1).

      125. Bluestone has discharged fragments of coal, coke, and slag into the

Unnamed Tributary of Five Mile Creek and Five Mile Creek for decades. See id. §

323.2(f) (stating the discharge of fill material includes “placement of overburden,

slurry, or tailings or similar mining-related materials”).

      126. This discharge has had the effect of changing the bottom elevation of

the Unnamed Tributary of Five Mile Creek, a water of the United States.

      127. Bluestone does not have a Section 404 permit for this fill.

      128. The activity described above, and in Plaintiffs’ notice letter, constitutes

an unauthorized fill to waters of the United States.

      129. The ongoing violations have occurred for at least five years and will

continue unless this Court orders Bluestone to cease discharging illegal fill. These

violations have caused and will continue to cause Plaintiffs irreparable injury.

                             DEMAND FOR RELIEF

      Plaintiffs respectfully request that this Court grant the following relief:

      A.     Render a judgment finding that Bluestone has violated and is violating

the Clean Water Act through noncompliance with NPDES Permit No. AL0003247

for violating effluent limits and failing to operate the Biological Treatment Facility.




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      B.    Render a judgment declaring that Bluestone has violated and is

violating the Clean Water Act through the illegal and unpermitted discharges of

pollutants at its outfall and from other point sources into the Unnamed Tributary of

Five Mile Creek and Five Mile Creek; and through the unpermitted filling of the

Unnamed Tributary with coke, coal, and slag discharged by Bluestone from the site.

      C.    Enjoin Bluestone from violating the Clean Water Act.

      D.    Order Bluestone to remove any fill material illegally discharged into

the Unnamed Tributary of Five Mile Creek and to cease filling this waterway.

      E.    Assess a civil penalty of $64,618 for each actionable violation of the

Clean Water Act in accordance with 33 U.S.C. § 1365(a). See 40 C.F.R. Part 19.

      F.    Award costs of litigation (including reasonable attorney and expert

witness fees) to Plaintiffs in accordance with 33 U.S.C. § 1365(d); and

      G.    Award Plaintiffs such other relief to which it may be entitled.

Respectfully submitted this 13th day of September, 2023,

                                             s/Sarah Stokes
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